      Case 1:19-cv-04355-LGS-GWG Document 619 Filed 11/06/20 Page 1 of 3


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
UNITED STATES SECURITIES AND                                  :
EXCHANGE COMMISSION,                                          :
                           Plaintiff,                         :
                                                              :   19 Civ. 4355 (LGS)(GWG)
                           v.                                 :
                                                              :          ORDER
MYKALAI KONTILAI, COLLECTOR’S                                 :
COFFEE, INC., et al.                                          :
                           Defendants                         :
------------------------------------------------------------- X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on May 16, 2019, the Court issued a temporary restraining order (the

“Temporary Restraining Order”), which froze “[t]he assets, funds, or other property held by or

under the direct or indirect control of Defendants Collectors Café or Mykalai Kontilai, whether

held in any of their names or for their direct or indirect beneficial interests, wherever located, up

to the amount of $46,121,649.68.” Dkt. No. 12.

        WHEREAS, on June 28, 2019, pursuant to 28 U.S.C. § 636(c)(1), the parties signed a

Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge, referring to Judge

Gorenstein for a final order, “Plaintiff’s motion for an asset freeze, and other relief, including a

preliminary injunction (Docket #8 et seq.) and (2) Defendant’s motion for relief from the Court’s

May 14, 2019, Order (Docket #40).” Dkt. No. 59.

        WHEREAS, on November 12, 2019, Plaintiff filed a renewed motion for preliminary

injunction (the “Motion for Preliminary Injunction”). Dkt. No. 141.

        WHEREAS, on November 13, 2019, pursuant to 28 U.S.C. § 636(c)(1), the parties signed

a Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge, referring to

Judge Gorenstein for a final order, “Plaintiff’s Motion for Preliminary Injunction (Doc. No. 8, et

seq.).” Dkt. No. 143.
      Case 1:19-cv-04355-LGS-GWG Document 619 Filed 11/06/20 Page 2 of 3


       WHEREAS, on December 9, 2019, the Court issued a Stipulated Order on Renewed

Motion for Preliminary Injunction (the “Stipulation”), signed by the parties and stipulating to the

relief sought in the Motion for Preliminary Injunction pending a hearing on the motion. Dkt. No.

175. As a result, Judge Gorenstein never ruled on the merits of Plaintiff’s Motion for Preliminary

Injunction.

       WHEREAS, on November 1, 2020, Defendant Mykalai Kontilai filed a pre-motion letter

seeking (i) clarification as to whether the Temporary Restraining Order “prevent[s] Kontilai from

using any untainted funds earned or received and/or using untainted funds for hiring criminal

defense and extradition counsel and criminal defense experts of his choice,” (Dkt. No. 612, 1/4)

and (ii) dissolution of the Temporary Restraining Order. Dkt. No. 612

       WHEREAS, Defendant Mykalai Kontilai’s request for the dissolution of the Temporary

Restraining Order is based on challenges to the merits of Plaintiff’s Motion for Preliminary

Injunction. See Dkt. No. 612.

       WHEREAS, on November 3, 2020, Defendant Veronica Kontilai joined in the November

1, 2020, pre-motion letter at Docket No. 612. Dkt. No. 613. It is hereby

       ORDERED that, by November 12, 2020, the parties shall meet and confer to attempt to

resolve any issues regarding Defendants’ use of certain funds for hiring criminal defense and

extradition counsel and criminal defense experts of his choice, and based on the results of the

parties’ meet and confer, either (i) the parties shall file a stipulation regarding the scope of the

Temporary Restraining Order or (ii) Plaintiff shall file a responsive letter to the request for

clarification in the pre-motion letter at Docket No. 612. It is further

       ORDERED that, any requests regarding dissolution of the Temporary Restraining Order,

which in substance, involve consideration of the merits of the Motion for Preliminary Injunction,



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      Case 1:19-cv-04355-LGS-GWG Document 619 Filed 11/06/20 Page 3 of 3


are referred to Judge Gorenstein pursuant to Docket Nos. 59 and 143 for a final order. The

parties have provided their consent for Judge Gorenstein to issue a final order on Plaintiff’s

Motion for Preliminary Injunction (see Dkt. Nos. 59 and143). Defendants now, as support for the

contention that the TRO should be dissolved, assert that “[t]he SEC [h]as [n]ot [c]ome [c]lose to

[m]eeting its [b]urden to [o]btain a [p]reliminary [i]njunction,” and, as a result, are requesting that

the Court consider the merits of a motion referred to Judge Gorenstein. Defendants’ request for

dissolution of the TRO is therefore referred to Judge Gorenstein.



Dated: November 6, 2020
       New York, New York




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